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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA




CLARENCE YOUNGS

           v.                                   NO.   11-cv-1329

NCO FINANCIAL SYSTEMS, INC.




                                 JUDGMENT


BEFORE SCHILLER, J.

          AND NOW, to wit, this 6th day of May, 2011,
It is ORDERED that in accordance with the Acceptance of Offer and
entry of Judgment filed by Plaintiff, Judgment is entered in favor
of Plaintiff and against Defendant in the amount of $1,000.00
including reasonable costs and attorney's fees accrued.

                                      BY THE COURT:



                                      ATTEST:




judg
